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Lisa Tarpley

From: Annette Hurst

Sent: | Monday, June 07, 2004 9:16 AM

To: Lisa Tarpley; Janet Kirk

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Case Name: Valve LLC v. Sierra Entertainment
Case Number: 2:02-cv-1683
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Document Number: 135

Docket Text:
MINUTE ENTRY for proceedings held before Judge Thomas S. Zilly - Dep Clerk: Gail Glass; CR:

Susan Zielie; Pla Counsel: Karl Quackenbush, Jason Holtman; Def Counsel: Linda Foy, Michael Scott
and Kristin Boras; In Court Hearing held on 6/4/2004. The Court hears arguments of counsel on the
motions. The Court takes this matter under advisement. No further discovery motions shall be submitted
to the court with out prior permission. Plaintiff's shall certify that they have provided discovery to the
defendant's on or before June 15, 2004. (GG, )

The following document(s) are associated with this transaction:

2:02-cv-1683 Notice will be electronically mailed to:
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